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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 JUAN JOSE HARO                                  §
      Plaintiff                                  §
                                                 §
 v.                                              §       CIVIL ACTION NO.
                                                 §       4:24−cv−04466
 EQUISOLAR, INC., SOLAR MOSAIC,                  §
 LLC AND ASHLEY GERSHOONY                        §       JURY TRIAL DEMANDED
      Defendant


           DEFENDANTS EQUISOLAR, INC., AND ASHLEY GERSHOONY’S
               CERTIFICATE OF SERVICE IN REMOVED ACTION


TO THE HONORABLE COURT:

        COME NOW, DEFENDANTS EQUISOLAR, INC., AND ASHLEY GERSHOONY,

in the above-styled matter and file this their Certificate of Service in Removed Action.

        Defendants certify compliance with the court’s Order entered upon filing of the petition

for removal of this action. On November 21, 2024, Defendants served copies of the Order for

Conference and Disclosure of Interested Parties and the Court Procedures on all other parties.


Dated: December 5, 2024                       Respectfully submitted,

                                              By: /s/ Lema Mousilli
                                              LEMA MOUSILLI
                                              Attorney-in-charge
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DEFENDANTS EQUISOLAR, INC. AND ASHLEY GERSHOONY CERTIFICATE OF SERVICE IN REMOVED
ACTION
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                                            ATTORNEYS FOR DEFENDANTS’
                                            EQUISOLAR, INC., AND ASHLEY
                                            GERSHOONY




                            CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document, and any

attachments, will be served on all counsel of record, in accordance with the governing rules of

procedure regarding service on this December 5, 2024, via electronic filing manager as follows:


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Attorney for Plaintiff
                                                   /s/ Lema Mousilli
                                                   Lema Mousilli




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DEFENDANTS EQUISOLAR, INC. AND ASHLEY GERSHOONY CERTIFICATE OF SERVICE IN REMOVED
ACTION
